
                                                                    








				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-06-122-
CV



IN RE PRINTPACK, INC. AND	RELATORS

BRAD PAGE

------------

ORIGINAL PROCEEDING

------------

MEMORANDUM
 
OPINION
(footnote: 1)
------------

The court has considered relators’ petition for writ of mandamus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relators’ petition for writ of mandamus is denied.

Relators shall pay all costs of this original proceeding
, for which let execution issue.



PER CURIAM





PANEL A
: &nbsp;HOLMAN, J.; CAYCE, C.J.; and WALKER, J.



DELIVERED: April 11, 2006



FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




